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    1 BLAKELY LAW GROUP
      BRENT H. BLAKELY (CA Bar No. 157292)
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    3 Manhattan Beach, California 90266
    4
      Telephone: (310) 546-7400
      Facsimile: (310) 546-7401
    5 Email:     BBlakely@BlakelyLawGroup.com
    6
      Attorneys for Defendant
    7 ESSENTIAL CONSULTANTS, LLC
    8
                             UNITED STATES DISTRICT COURT
    9
                           CENTRAL DISTRICT OF CALIFORNIA
   10
   11 STEPHANIE CLIFFORD a.k.a.                   Case No. 2:18-CV-02217
   12 STORMY DANIELS a.k.a. PEGGY                 DECLARATION OF BRENT H.
        PETERSON, an individual,
   13                                             BLAKELY IN SUPPORT OF EX
                                                  PARTE APPLICATION FOR
                    Plaintiff,
   14                                             EXTENSION OF TIME TO
   15                                             RESPOND TO FIRST AMENDED
              v.
                                                  COMPLAINT
   16
      DONALD J. TRUMP a.k.a. DAVID
   17 DENNISON, an individual,                    Assigned for All Purposes to the
                                                  Hon. S. James Otero
   18 ESSENTIAL CONSULTANTS, LLC, a
      Delaware Limited Liability Company,
   19 and DOES 1 through 10, inclusive,           Action Filed: March 6, 2018
   20
                     Defendants.
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                                 DECLARATION OF BRENT H. BLAKELY
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    1                     DECLARATION OF BRENT H. BLAKELY
    2        I, Brent H. Blakely, declare:
    3         1.    I am an attorney duly licensed to practice before all courts of the State of
    4 California and in the U.S. District Court for the Central District of California, among
    5 other courts. I make this declaration based on my own personal knowledge and, if
    6 called and sworn as a witness, I could and would competently testify hereto.
    7         2.    I am a partner of the law firm of Blakely Law Group, counsel of record
    8 for Defendant Essential Consultants, LLC (“EC”).
    9         3.    On March 21, 2018, I met with counsel for Plaintiff, Ahmed Ibrahim, in
   10 person at my offices to discuss EC’s Motion to Compel Arbitration (“Arbitration
   11 Motion”), in which Mr. Trump joined, and Plaintiff’s Motion for Expedited Jury
   12 Trial. Charles J. Harder, counsel for Mr. Trump, was also present in person. Michael
   13 Avenatti, also counsel for Clifford, participated by telephone. However, we were
   14 unable reach an agreement to eliminate the need for the respective motions.
   15         4.    Attached hereto as Exhibit A is a true and correct copy of my March 27,
   16 2018 letter to Mr. Avenatti.
   17         5.    Attached hereto as Exhibit B is a true and correct copy of the email
   18 chain including my March 30, 2018 email to Mr. Avenatti and his response of the
   19 same date.
   20         6.    On April 2, 2018, I telephonically met and conferred with Mr. Avenatti
   21 regarding Mr. Cohen’s contemplated motion to strike Plaintiff’s second cause of
   22 action pursuant to California Code of Civil Procedure § 425.16 or, in the alternative,
   23 motion to dismiss. At my request, we conducted the meet and confer over the
   24 telephone, rather than in person, because I was preparing for a trial that began the next
   25 day.
   26         7.    During our conference, Mr. Avenatti offered to agree to an extension of
   27 time for Defendants to respond to Plaintiff’s First Amended Complaint (“FAC”) until
   28 10-14 days after the Court ruled on the Arbitration Motion, conditioned upon Mr.
                                             -2-
                               DECLARATION OF BRENT H. BLAKELY
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    1 Cohen (who was not requesting an extension and is not even a party to the one cause
    2 of action against Defendants: the First Cause of Action for Declaratory Relief)
    3 agreeing to arbitrate Plaintiff’s second cause of action for defamation against him, in
    4 the event the Court grants the Arbitration Motion. As result, no agreement on an
    5 extension of time was reached. I also informed Mr. Avenatti that an ex parte
    6 application would be necessary if Plaintiff did not agree to an extension of time for
    7 Defendants to respond to the FAC.
    8         8.    On April 3, 2018, counsel for Defendants advised Mr. Avenatti of the
    9 instant ex parte application, in writing, on two occasions.
   10         9.    Attached hereto as Exhibit C is a true and correct copy of an April 3,
   11 2018 letter from Charles Harder to Michael Avenatti, wherein Mr. Harder informs
   12 Mr. Avenatti that an ex parte application will be necessary if an unconditional
   13 extension of time was not granted.
   14         10.   Attached hereto as Exhibit D is a true and correct copy of an April 3,
   15 2018 email chain that begins with the transmission of Mr. Harder’s April 3, 2018
   16 letter to Mr. Avenatti, contains an email exchange between Mr. Avenatti and Mr.
   17 Harder, and ends with my email to Mr. Avenatti, wherein pursuant to Local Rule 7-
   18 19.1, I attempted to schedule a call the following day (April 4, 2018) to discuss the
   19 date and substance of the instant ex parte application. I sent this email after
   20 concluding my first day of trial before Judge Terry Hatter in the U.S. District Court,
   21 Central District of California, and preparing for the following day of trial.
   22         11.   Mr. Avenatti did not respond to my email for over thirty (30) hours, and
   23 when he did respond on April 5, 2018, Mr. Avenatti offered to schedule the call over
   24 the weekend (i.e. at least 2 days later). In the interim, on April 4, 2018, Mr. Avenatti
   25 appeared on at least three national television news shows to discuss this case: (a)
   26 Anderson Cooper 360 on CNN; (b) Megyn Kelly Today on NBC News; and (c) New
   27 Day on CNN, with Alisyn Camerota. Attached hereto as Exhibit E is a true and
   28 correct copy of Mr. Avenatti’s April 5, 2018 email.
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                               DECLARATION OF BRENT H. BLAKELY
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    1         12.   Given that the current due date for Defendants’response to the FAC is
    2 the next business day (Monday, April 9, 2018) following Mr. Avenatti’s proposed
    3 meet and confer, Defendants could not wait until the weekend to further meet and
    4 confer with Mr. Avenatti. Accordingly, Defendants have no choice but to file the
    5 instant ex parte application for an extension of time to respond to the FAC.
    6        I declare under penalty of perjury under the laws of the United States of
    7 America that the foregoing is true and correct.
    8        Executed on April 5, 2018, at Los Angeles, California.
    9
                                              /s/ Brent H. Blakely
   10                                      BRENT H. BLAKELY
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                              DECLARATION OF BRENT H. BLAKELY
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                Exhibit A
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                              E-mail bblakely@blakelylawgroup.com

                                         March 27, 2018

    VIA EMAIL & U.S. MAIL
    Mr. Michael J. Avenatti
    Avenatti & Associates, APC
    520 Newport Center Drive, Suite 1400
    Newport Beach, CA 92660
    Email: mavenatti@eoalaw.com


                 Re:    Clifford v. Trump, et. al.
                        Case No. 18-cv-02217-SJO-FFM

   Dear Mr. Avenatti:

           I am writing to request an in-person meet and confer conference pursuant to Local
   Rule 7-3 regarding the First Amended Complaint you recently filed. Defendant Michael
   Cohen is considering filing an anti-SLAPP motion pursuant to California Code of Civil
   Procedure §425.16 in connection to Clifford's Second Cause of Action for Defamation.
   Under the statute, “[a] cause of action against a person arising from any act of that person
   in furtherance of the person's right of petition or free speech under the United States or
   California Constitution in connection with a public issue shall be subject to a special
   motion to strike, unless the court determines that the plaintiff has established that there is
   a probability that the plaintiff will prevail on the claim.”

          Here, Cohen's alleged statement arose in connection with a public issue. See e.g.,
   Paris Hilton v. Hallmark Cards et al., 580 F.3d 874 (9th Cir. 2009). Ms. Clifford will
   have the burden of establishing that there is a probability of her prevailing on her
   defamation claim.

         As set forth in the First Amended Complaint, Clifford's defamation claim is
   premised on the following statement by Mr. Cohen:

        “Just because something isn’t true doesn’t mean that it can’t cause you
   harm or damage. I will always protect Mr. Trump.”

         “Defamation consists of, among other things, a false and unprivileged publication,
   which has a tendency to injure a party in its occupation.” Wilbanks v. Wolk (2004) 121
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   Cal.App.4th 883, 901. Washer v. Bank of America (1948) 87 Cal. App. 2d. 501, 509.
   The sine qua non of recovery for defamation … is the existence of falsehood.’ Because
   the statement must contain a provable falsehood, courts distinguish between statements of
   fact and statements of opinion for purposes of defamation liability. Although statements
   of fact may be actionable as libel, statements of opinion are constitutionally protected.”
   McGarry v. University of San Diego (2007) 154 Cal.App.4th 97, 112.

           Truth is an absolute defense to defamation. Washer v. Bank of America (1948) 87
   Cal. App. 2d. 501, 509. Nothing about the aforementioned statement, which is not
   directed at anyone in particular, is untrue. Indeed, as of this date, Ms. Clifford had stated
   on at least three different occasions, including in a letter that she signed one month before
   Mr. Cohen’s alleged statement, that she did not have an intimate relationship with Mr.
   Trump. Thus, her statements which are completely contradictory— that she did not, and
   that she did, have an intimate relationship— cannot both be true.

          Ms. Clifford's defamation claim also will fail because when Mr. Cohen made the
   alleged statement, he was engaging in his constitutionally protected right to express his
   opinion. “Under the First Amendment there is no such thing as a false idea. However
   pernicious an opinion may seem, we depend for its correction not on the conscience of
   judges and juries but on the competition of other ideas.” Gertz v. Robert Welch, Inc. 418
   U.S. 323, 339-340 (1974).

           Finally, Ms. Clifford will be required to establish a prima facie claim that she
   suffered actual damages. Because the purported libelous statement would require further
   consideration of extrinsic facts, it is not libel per se. Cal. Civil Code §45a. Thus, Ms.
   Clifford would have to prove that she suffered special damages as a proximate result
   thereof. Again, as of the time Mr. Cohen made this statement, Ms. Daniels had stated on
   at least three different occasions that she did not have an intimate relationship with Mr.
   Trump. Even if one were to distort Mr. Cohen's statement to the length that you attempt
   in the First Amended Complaint, it can hardly be said that Mr. Cohen's statement, which
   nowhere contradicts Ms. Clifford's stated position at this time, somehow damaged Ms.
   Clifford.

         Should Ms. Clifford's defamation claim fail to survive an anti-SLAPP challenge,
   she would be held responsible for Mr. Cohen's legal fees.

          Moreover, you have exposed yourself personally to potential sanctions for filing a
   frivolous pleading in violation of Federal Rule of Civil Procedure, Rule 11, which was
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   enacted to deter abusive pretrial tactics and to streamline litigation by excluding baseless
   filings. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 392-393; Golden Eagle
   Distributing Corp. v. Burroughs Corp., 801 F. 2d 1531, 1542 (9th Cir. 1986).

        We therefore ask that you reconsider Ms. Clifford’s Second Cause of Action for
   Defamation against Mr. Cohen, and stipulate to the voluntary dismissal of same.

          I have a trial beginning on April 3, 2018 in another matter and therefore request
   that we hold the meet and confer conference regarding Mr. Cohen's anti-SLAPP motion
   this week. As the prior meet and confer conference was held at my office, I’ll be happy
   to travel to Newport Beach for this one.

          Naturally, all of my client’s claims are expressly reserved and none are waived.


                                                     Sincerely,




                                                     BRENT H. BLAKELY


   cc:    Charles J. Harder, Esq. (via email)
          Ryan Stonerock, Esq. (via email)
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                 Exhibit B
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                                  #:390
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                                  #:391
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                                  #:392
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                                  #:393




              Exhibit C
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                                  #:394
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                                  #:395




              Exhibit D
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                                  #:396
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                                  #:398
                        Case 2:18-cv-02217-SJO-FFM Document 26-1 Filed 04/05/18 Page 19 of 25 Page ID
                                                          #:399
Jessica Covington

From:                    Monica Lawal
Sent:                    Thursday, April 5, 2018 6:41 PM
To:                      Jessica Covington
Subject:                 Fwd: Clifford v. Trump - Joint Ex Parte Application
Attachments:             Ex Parte Application for Extension to Respond to Complaint - FINAL.docx; Ex Parte Application - Declaration of Brent Blakely -
                         FINAL.docx; Proposed Order re Ex Parte for Extension of Time.docx; Ex. A to Ex Parte Application for Extension of Time to
                         Respond.pdf; Ex. B to Ex Parte Application for Extension of Time to Respond.pdf; Ex. C to Ex Parte Application for Extension of
                         Time to Respond.pdf; Ex. D to Ex Parte Application for Extension of Time to Respond.pdf; Ex. E to Ex Parte Application for
                         Extension of Time to Respond.pdf



---------- Forwarded message ---------
From: Ryan Stonerock <RStonerock@harderllp.com>
Date: Thu, Apr 5, 2018 at 09:49
Subject: Clifford v. Trump - Joint Ex Parte Application
To: Monica Lawal <mlawal@blakelylawgroup.com>
CC: Brent H. Blakely, Esq. <bblakely@blakelylawgroup.com>, Charles Harder <charder@harderllp.com>, Steven Frackman
<sfrackman@harderllp.com>


Monica:



Attached please find the following documents:



   1.   Joint Ex Parte Application
   2.   Declaration of Brent Blakely
   3.   Proposed Order
   4.   Exhibits



Once we have approval from Brent, please file them asap.
                                                                            1
                           Case 2:18-cv-02217-SJO-FFM Document 26-1 Filed 04/05/18 Page 20 of 25 Page ID
                                                             #:400


Thanks,




                              RYAN J. STONEROCK

                              HARDER LLP

                              132 S. RODEO DR., FOURTH FLOOR

                              BEVERLY HILLS, CA 90212

                              TEL (424) 203-1600

                              RSTONEROCK@HARDERLLP.com

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--
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                                  #:401




              Exhibit E
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                                  #:402
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                                  #:404
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